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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

    ADVANCE COLORADO,
    a Colorado non-profit,

    GEORGE HANKS “HANK” BROWN,
    An individual,

    STEVEN WARD,
    an individual,

    CODY DAVIS,
    an individual,                                         Civil Action No. 23-CV-01999-SKC

    JERRY SONNENBERG,
    an individual,

    and

    CARRIE GEITNER,
    an individual,

    Plaintiffs,

    v.

    JENA GRISWOLD, in her official capacity as
    Secretary of State of Colorado,

    and

    JARED POLIS, in his official capacity as
    Governor of Colorado,

    Defendants.


                         MOTION FOR PRELIMINARY INJUNCTION


          The Colorado legislature has passed a new law mandating that the ballot titles on citizen

 initiatives that reduce tax rates must include prominent standardized language that does not

 accurately represent the content of the initiative as it was drafted by its proponents. Ballot Measure
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 Fiscal Transparency Act of 2021, H-B 21-1321, codified at C.R.S. § 1-40-106 (“C.R.S. § 1-40-

 106”). This is compelled speech – compelled false speech – in violation of the First Amendment

 of the United States Constitution.

         Plaintiff Advance Colorado is currently circulating two petitions that include language that

 it believes to be false and misleading, Colorado Proposed Initiative 2023-2024 #21 (“Initiative

 21”) and Colorado Proposed Initiative 2023-2024 #22 (“Initiative 22”). Initiative 21 is due on

 November 20, 2023, Colorado Secretary of State, 2023-2024 Initiative Filings, Agendas &

 Results,    and     Initiative    22    is    due       on       October      23,     2023.         See

 https://www.sos.state.co.us/pubs/elections/Initiatives/titleBoard/; C.R.S. § 1-40-108 (“No petition

 for any ballot issue is of any effect unless filed with the secretary of state within six months from

 the date that the titles and submission clause have been fixed and determined pursuant to the

 provisions of sections 1-40-106 and 1-40-107 and unless filed with the secretary of state no later

 than three months before the election at which it is to be voted upon”). Before these deadlines,

 Plaintiffs must collect 124,238 signatures. See Colo. Const. Art. Article V, § 1(2) (The number of

 signatures required for a statewide initiative petition is “at least five percent of the total number of

 votes cast for all candidates for the office of secretary of state at the previous general election”).

 Advance Colorado is currently circulating two petitions that include that include language that it

 believes to be false and misleading because it is otherwise impossible to secure sufficient

 signatures in time. For that reason, Plaintiffs respectfully request this Court’s urgent consideration

 of this matter.

         Furthermore, this case is ideally suited for determination on a preliminary injunction

 motion because the relevant facts are straightforward and a matter of public record. The “poison

 pill” statute, C.R.S. § 1-40-106, is unconstitutional on its face, as this Court will be able to

 determine as a pure question of law without any need for the development of a factual record. And


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 even if this Court does not find the law facially unconstitutional, it is clear from facts that can be

 established simply from public sources, in particular the official Fiscal Summaries regarding these

 petitions that were prepared by the non-partisan Colorado Legislative Council Staff and the record

 before the Colorado Ballot Title Setting Board (“Title Board”), that this law is unconstitutional as

 applied to the petitions currently being circulated by Advance Colorado. These same facts also

 establish that C.R.S. § 1-40-106 is in violation of Article V, Section 1 of the Constitution of the

 State of Colorado, which requires the official title of ballot initiative to clearly and accurately

 reflects its contents, which are chosen by the proponents themselves.

        Plaintiffs respectfully request that this Court issue an injunction requiring the Secretary of

 State to convene the Title Board to issue new titles for the initiatives described below that state the

 content of those initiatives clearly, simply and accurately.

                                              I. FACTS

        In 2021, the Colorado Generally Assembly passed a law which provided that “for measures

 that reduce state tax revenue through a tax change, the ballot title must begin ‘shall there be a

 reduction to the (description of tax) by (the percentage by which the tax is reduced in the first full

 fiscal year that the measure reduces revenue) thereby reducing state revenue, which will reduce

 funding for state expenditures that include but are not limited to (the three largest areas of program

 expenditure) by an estimated (projected dollar figure of revenue reduction to the state in the first

 full fiscal year that the measure reduces revenue) in tax revenue?” Ballot Measure Fiscal

 Transparency Act of 2021, advanced as H.B. 21-1321 and codified at C.R.S. § 1-40-106.

        This legislation mandates that the ballot title “must begin” with this language and that it

 must state that the tax change “will reduce funding” for these specified programs. Id. (emphasis

 added). Not, “may reduce funding,” but “will reduce funding.” Id. (emphasis added). The only

 exception is if the measure includes cuts to specific identified programs. Id. The Title Board has


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 found that it has no discretion to edit or omit this language even under circumstances where the

 members of the Title Board do not believe that it accurately describes the measure at issue. See

 Audio of the October 20, 2021 Rehearing, Board Member Pelegrin at 10:46, available at

 https://archive-video.granicus.com/csos/csos_b1e2491d-ffab-458a-b33a-140192a0f905.mp3. (“I

 also agree that obviously, we have to follow the statute. But I think, to the extent we can follow

 the statute and still try to make it clear, I think we should try to make it clearer…”). Upon appeal,

 the Colorado Supreme Court upheld this determination without comment. Petition for Review of

 Final Action of Ballot Title Setting Board Concerning Proposed Initiative 2021-2022 #46 in the

 Colorado Supreme Court, No. 2021-SA-316 (Colo. Apr. 14, 2022) (“IT IS ORDERED that the

 actions of the Title Board are AFFIRMED”), Complaint Ex. G at 85. 1

          Plaintiff Advance Colorado is currently the sponsor of Colorado Proposed Initiative 2023-

 2024 #22 (“Initiative 22”) and Colorado Proposed Initiative 2023-2024 #21 (“Initiative 21”). 2

 After hearing and rehearing, the Title Board set the title for Initiative 22 as follows:

          There shall be a reduction to the state sales and use tax rate by 0.61 percent, thereby
          reducing state revenue, which will reduce funding for state expenditures that
          include but are not limited to education, health care policy and financing, and
          higher education by an estimated $101.9 million in tax revenue, by a change to
          the Colorado Revised Statutes concerning a reduction in state sales and use taxes,
          and, in connection therewith, reducing the state sales and use tax rate from 2.90
          percent to 2.89 percent from July 1, 2024, through June 29, 2025, and eliminating
          the state sales and use tax for one day on June 30, 2025.

 Compl., Ex. C, Dkt. 1-4 at 6 (emphasis supplied).

          The language in bolded italics is mandated by C.R.S. § 1-40-106 and is completely false

 and inaccurate. Initiative 22 is a de minimus, 0.01% sales tax cut that would only be in effect for



 1
  The scope of review for appeals from the Title Board is limited by statute, C.R.S. § 1-40-107(2), and this decision
 does not have a preclusive effect on the issues before this Court. Specifically, the scope of review does not include
 constitutional challenges to the validity of state statutes under either the federal constitution or state constitution.
 2
   Because Colorado law requires two registered voters to act as proponents of an initiative, the listed proponents on
 the measure are Suzanne Taheri, acting as legal counsel for Advance Colorado, along with Plaintiff Steven Ward.

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 a single year, see Complaint, Ex. A, Dkt. 1-2, and that year is projected to have tax revenue high

 enough to trigger a substantial refund under the Taxpayer’s Bill of Rights, Colo. Const. art X, §

 20. (“TABOR”). “In the current FY 2022-23, revenue is expected to exceed the Referendum C

 cap by $3.31 billion before exceeding the cap by $2.06 billion in FY 2023-24 and by $1.97 billion

 in FY 2024-25, even with high 2022 inflation resulting in a doubling of the growth rate used to

 calculate the FY 2023-24 Referendum C cap.” The Colorado Council of Legislative Staff,

 Economic              and             Revenue              Forecast,             June             2023,

 https://leg.colorado.gov/sites/default/files/images/june2023forecast_1.pdf at 19. Any tax cut in

 fiscal year 2024-2025 up to $1.97 billion will come out of the TABOR refund, not the General

 Fund moneys available for state programs such as education. The official Fiscal Summary for

 Initiative 22 acknowledges this, “Based on current forecasts, the measure is expected to reduce the

 amount of revenue required to be refunded to taxpayers under TABOR, with no net impact on the

 amount available for the budget.” Initiative 22 Fiscal Summary, Colorado Legislative Council

 Staff (April 19, 2023). Complaint Ex. D, Dk. 1-5 (emphasis added).

         These are, of course, projections—not guarantees, and the precise numbers are

 unimportant. What is important is that proponents have been required by law to label their own

 initiative in a manner that is inconsistent both with their intent and the way that they would prefer

 to frame the issues and with the State’s best official estimate of the initiative’s actual effect. It is

 vanishingly unlikely that this particular measure will result in any actual cuts in education or

 healthcare spending, and the mandatory language to the contrary is a lie.

         Initiative 21, which is also being circulated by Advance Colorado, does not cut taxes at all.

 Instead it caps the growth in property taxes paid on a particular parcel to 3% a year unless there

 have been substantial physical improvements to the property. See Complaint, Ex. B, Dkt. 1-3. It

 was drafted in response to the large increases in their property appraisals that many Colorado


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 landowners have faced over the last few years, which have outstripped wage growth and present

 serious challenges to elderly homeowners living on a fixed income. The official title of Initiative

 21, prominently states that:

         Funding available for counties, school districts, water districts, fire districts, and
         other districts funded, at least in part, by property taxes shall be impacted by a
         reduction of $2.2 billion in property tax revenue by an amendment to the Colorado
         constitution and a change to the Colorado Revised Statutes concerning a 3% annual
         limit on property tax increases …

 Complaint Ex. H, Dkt. 1-9 at 7. This is inaccurate because there is no reduction in revenue, only

 a reduction in the growth of revenue, and because any outsized growth in property tax revenue

 cause by skyrocketing real estate prices would ultimately be subject to the cap on revenue growth

 from TABOR.

         The ballot title is a short, clear statement of the change in law that the proponents of an

 initiative are advocating. Colo. Const. art. V, § 1 (“No measure shall be proposed by petition

 containing more than one subject, which shall be clearly expressed in its title”). Circulators take

 their proposed initiative with its ballot title on top and in all caps and speak with registered voters,

 seeking sufficient signatures to place the measure on the ballot.

         Circulators speak in their own voices to explain the measure, but also show the official

 document with the ballot title to voters who will see this document and sign it. These conversations

 are often short and hurried, a brief interaction on the street or outside of store, so it is crucial that

 speakers be allowed to communicate in a manner that is quick and straightforward. Many potential

 signatories are commonly relatively unsophisticated and lack a detailed understanding of Colorado

 tax law and budgeting practices.

         Although it has elements of government speech, a ballot title is fundamentally the speech

 of the citizens proposing and supporting the initiative – an official summary of the change of law

 that they have proposed and wish to place on the ballot and see enacted. C.R.S. § 1-40-106 places


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 proponents in the position of circulating a document that they believe mischaracterizes their

 position in a situation where such speech will either be mistaken for their own speech or be

 mistaken for the evaluation of non-partisan body as to the content of their chosen speech. And

 this speech – presented as petition by citizens and not the voice of the State – will ultimately be

 circulated on the ballot to all registered voters.

                                           II. ARGUMENT

         In considering whether to issue a preliminary injunction, this Court must consider: (1)

 whether Plaintiffs have a substantial likelihood of prevailing on the merits, (2) whether Plaintiffs

 face a threat of irreparable harm absent the injunction, (3) the balance between this harm and the

 injury that the injunction’s issuance would inflict upon Defendants, and (4) the public interest.

 American Civil Liberties Union v. Johnson, 194 F.3d 1149, 1155 (10th Cir. 1999). “When a

 plaintiff has shown a likely violation of his or her First Amendment rights, the other requirements

 for obtaining a preliminary injunction are generally deemed to have been satisfied.” Minnesota

 Citizens Concerned for Life, Inc. v. Swanson, 692 F.3d 864, 870 (8th Cir. 2011) (en banc) (internal

 quotation marks omitted). Accordingly, when plaintiffs are “likely to win on the merits of [their]

 First Amendment claim, a preliminary injunction is proper.” Id. at 877; Comprehensive Health of

 Planned Parenthood of Kan. v. Templeton, 954 F. Supp. 2d 1205, 1215 n.14 (D. Kan. 2013) (“[I]n

 many First Amendment cases, courts focus first (or only) on the likelihood of prevailing on the

 merits”) (collecting cases).

         A. Plaintiffs have a substantial likelihood of success on the merits.

         1. The United States Constitution protects the right to speak and remain silent, especially
         in areas of core political speech.

         “[T]he right of freedom of thought protected by the First Amendment against state action

 includes both the right to speak freely and the right to refrain from speaking at all.” Wooley v.



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 Maynard, 430 U.S. 705, 714 (1977).         Parties have “a First Amendment right to present their

 message undiluted by views they [do] not share.” 303 Creative LLC v. Elenis, No. 21-476, 600

 U.S. ___ (June 30, 2023), slip. op at 8. Furthermore, “the circulation of a petition involves the

 type of interactive communication concerning political change that is appropriately described as

 core political speech … in which the importance of First Amendment protections is at its zenith.”

 Meyer v. Grant, 486 U.S. 414, 421-22, 425 (1988).

         “To state a compelled-speech claim, a plaintiff must establish three elements: (1) speech;

 (2) to which the speaker objects; that is (3) compelled by some governmental action.” Semple v.

 Griswold, 934 F.3d 1134, 1143 (10th Cir. 2019). There is no room for dispute that C.R.S. § 1-

 40-106 compels specific speech, which is directly laid out in the text of the statute, or that Plaintiffs

 object to this speech.

         2. C.R.S. § 1-40-106 impermissibly compels speech by private citizens.

         First Amendment challenges related to initiative procedures generally turn on the “speech”

 prong of the analysis, the question of whether the disputed law is a regulation of “speech associated

 with an initiative procedure,” which is protected speech under the First Amendment, or regulation

 of the “petition process,” which is not. Save Palisade Fruitlands v. Todd, 279 F.3d 1204, 1211-

 12 (10th Cir. 2002). Although the initiative process is a creation of state law and not mandated by

 the federal constitution, “[t]he circulation of an initiative petition of necessity involves both the

 expression of a desire for political change and a discussion of the merits of the proposed change,”

 and comes firmly within the bounds of First Amendment. Meyer, 486 U.S. at 421.

         The ballot title on a citizen initiative is best understood as speech by the proponents

 describing the change in law which they seek, not as government speech or as a regulation of the

 electoral process itself. The Colorado Constitution reserves to the people “the power to propose

 laws and amendments to the constitution and to enact or reject the same at the polls independent


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 of the general assembly.” Colo. Const. art. V, § 1. “Neither the general assembly nor its

 committees or agencies shall have any power to require the amendment, modification, or other

 alteration of the text of any such proposed measure or to establish deadlines for the submission of

 the original draft of the text of any proposed measure.” Id.

          Thus, citizens may freely choose to advocate any proposed measure that they see fit, and

 neither the General Assembly nor the State’s administrative agencies may require them to amend

 or alter it except that “[n]o measure shall be proposed by petition containing more than one subject,

 which shall be clearly expressed in its title.” Id. The title must clearly describe the contents of the

 text that the citizens drafted and proposed themselves – often over the political opposition of the

 party currently in power. It is not government speech because the government does not “bear[]

 the ultimate responsibility for the content of the [speech],” a right which is instead reserved to the

 proponents of the petition. Wells v. City and County of Denver, 257 F.3d 1132, 1142 (10th Cir.

 2001).

          The purpose of this title is “to capture, in short form, the proposal in plain, understandable,

 accurate language enabling informed voter choice.” In re Proposed Initiative for 1999-2000 No.

 29, 972 P.2d 257, 266 (Colo. 1999). Because Colorado law has always provided that the

 proponents of a ballot measure may advocate for a measure of their own drafting and choosing,

 and that the ballot title will accurately express the true intent and meaning of this measure, voters

 and prospective signatories understand the ballot title to summarizes the intent of the proponents

 of that ballot measure – not to reflect the views of the majority party in the Colorado General

 Assembly.

          Obviously this is not unregulated speech. The ballot title must “correctly and fairly express

 the true intent and meaning thereof,” C.R.S. 1-40-106(3) (b), an obligation that certainly does not

 apply to private speech in all contexts. However, this restriction is viewpoint neutral and


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 appropriate to the purpose of the forum – to communicate to potential signatories and voters a

 proposed change in law. Courts have observed “a distinction between, on the one hand, content

 discrimination, which may be permissible if it preserves the purposes of that limited forum, and,

 on the other hand, viewpoint discrimination, which is presumed impermissible when directed

 against speech otherwise within the forum’s limitations.” Rosenberger v. Rector and Visitors of

 the University of Virginia, 515 U.S. 819, 829-30 (1995). It is perfectly appropriate that Colorado

 law requires citizen initiatives to include a title that “correctly and fairly express[es] the true intent

 and meaning thereof,” C.R.S. 1-40-106(3) (b), but it is not permissible to mandate specific

 language that highlights the arguments of partisan opponents of the resolution, particularly when

 that language is not truthful and accurate. The fact that the speech in this case is highly regulated

 actually aggravates the constitutional violation because citizens of Colorado have come to expect

 ballot titles to accurately reflect the contents of an initiative and they carry an imprimatur of official

 regularity that the legislature has hijacked for partisan purposes.

         Furthermore, there is no government interest, compelling or otherwise, in mandating false

 and misleading speech. See Planned Parenthood of Southeastern Pa. v. Casey, 505 U.S. 833, 882

 (1992) (permitting the government to require doctors to provide “truthful and not misleading”

 information in the context of regulating medical practice). The mandatory language imposed by

 C.R.S. § 1-40-106, that any initiative that reduces tax rates “will reduce funding for state

 expenditures that include but are not limited to education, health care policy and financing, and

 higher education,” see C.R.S. § 1-40-106 and Compl., Ex. C, Dkt. 1-4 at 6, is never strictly accurate

 even under the best of circumstances. There is no guarantee that a reduction in tax rates “will

 reduce funding” for any particular state program unless the initiative specifies such cuts. To ensure

 that this language can never be exactly accurately, the provisions specifies that “[t]he estimates

 reflected in the ballot title shall not be interpreted as restrictions of the state’s budgeting process.”


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 Colo. Rev. Stat. § 1-40-106(f). It is the state legislature that ultimately decides how to allocate

 scarce funds among competing priorities.

        In addition, Advance Colorado believes and would argue that maintaining a low tax,

 business-friendly environment will ultimately result in higher government revenues by attracting

 business to the state and encouraging economic growth. Whether this Court agrees or disagrees,

 this is precisely the type of political disagreement that is protected by the First Amendment.

 Comprehensive Health of Planned Parenthood of Kan. v. Templeton, 954 F. Supp. 2d 1205, 1216

 (D. Kan. 2013) (“At the heart of the First Amendment lies the principle that each person should

 decide for himself or herself the ideas and beliefs deserving of expression, consideration and

 adherence”). The State has ample opportunity to express its own opinions regarding the fiscal

 impact of ballot measures through the official fiscal summary and through the political speech of

 members of the legislature, without placing speculative and partisan language in the mouths of

 proponents of the measure.

        Any argument that this language is necessary as a matter of compelling government interest

 is undermined by the fact that Colorado legislature exempted itself from these requirements.

 C.R.S. § 1-40-106 only applies to citizen initiatives, not to initiatives proposed to the voters by

 the legislature. Colo. Rev. Stat. § 1-40-106(i) (II) (defining “tax change” for the purposes of these

 provisions as an “any initiated ballot issue or initiated ballot question that has a primary purpose

 of lowering or increasing tax revenues collected by a district” but not a “referred measure” with

 the same purpose.) The Colorado legislature has, in fact, referred a measure to the current ballot

 that would have been subject to the mandatory language if it had been a citizen initiative without

 including the language required by C.R.S. § 1-40-106. Senate Bill 23-303, § 3 (May 8, 2023).




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        3. The statute is unconstitutional on its face and as applied.

        Thus, C.R.S. § 1-40-106 is unconstitutional on its face as a matter of law. But it is even

 more obviously unconstitutional as applied to the pending initiatives proposed by Advance

 Colorado, which absolutely do not, under any plausible circumstances, cut spending for any of the

 identified programs. Initiative 22 will result in small reduction in the TABOR refund, not the

 General Fund, see Compl., Ex. A, Dkt 1-2 (the text of Initiative 22) and Ex. D, Dkt 1-5 (the official

 Fiscal Summary), and the Initiative 21 does not cut taxes at all, instead slowing the growth rate

 above existing taxes, while still permitting property tax charges to grow at a rate that exceeds

 historic inflation rates, see Compl., Ex. B, Dkt. 1-3 (the text of Initiative 21). This is not a subtle

 question of fact that will require a careful presentation of witnesses to establish the economic

 effects of these measures – the legislature passed a blanket obligation to include mandatory

 language that even the state’s own budget specialists do not think describes these initiatives. If

 the government is going to be permitted to require compelled speech in an area of core political

 speech then it at the very least has an obligation to very thoroughly and carefully ensure that the

 speech is exactly true and not subject to reasonable dispute.

        4. C.R.S. § 1-40-106 also violates the Colorado Constitution.

        Finally, C.R.S. § 1-40-106 also violates the provisions of the Colorado Constitution that

 reserves to the people the right to propose their own initiatives. The Colorado Constitution very

 clearly specifies that “[n]o measure shall be proposed by petition containing more than one subject,

 which shall be clearly expressed in its title.” Colo. Const. art. V, § 1. The purpose of this title is

 “to capture, in short form, the proposal in plain, understandable, accurate language enabling

 informed voter choice.” In re Proposed Initiative for 1999-2000 No. 29, 972 P.2d 257, 266 (Colo.

 1999). These requirements were adopted by the voters as a constitutional amendment in 1994 and

 mirror similar requirements imposed on bills enacted by the state legislature. Id. at 260. If there


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 is risk that the “voters cannot comprehend what is being proposed or could be misled or surprised,”

 this is a violation of both the statutory law implementing the clear title rule and the constitutional

 requirement itself. Id. at 261. “Although the titles need not state every detail of an initiative or

 restate the obvious, they must not mislead the voters or promote voter confusion.” In re Ballot

 Title 1999-2000 No. 258(A), 4 P.3d 1094, 1099 (Colo. 2000). Stating that a measure would cut

 education spending when it would not definitely has the potential to mislead voters – indeed, that

 is its intended effect. “Titles that contain a material and significant omission, misstatement, or

 misrepresentation cannot stand.” Id. (quotation omitted).

        In addition, “[i]t is well established that the use of catch phrases or slogans in the title,

 ballot title and submission clause, and summary should be carefully avoided by the Board.” In re

 Amend Tabor No. 32, 908 P.2d 125, 130 (Colo. 1995). “This rule recognizes that the particular

 words chosen by the Title Board should not prejudice electors to vote for or against the proposed

 initiative merely by virtue of those words’ appeal to emotion.” In re Ballot Title 1999-2000 No.

 258(A), 4 P.3d at 1100. “By drawing attention to themselves and triggering a favorable [or

 unfavorable] response, catch phrases generate support for a proposal that hinges not on the content

 of the proposal itself, but merely on the wording of the catch phrase.” Id. For example, it was

 impermissible to state in the title to a measure limiting bilingual education that it would teach

 English “as rapidly and effectively as possible” because they “mask the policy question regarding

 whether the most rapid and effective way to teach English to non-English speaking children is

 through an English immersion program.” Id. at 1100.

        The entire purpose of C.R.S. § 1-40-106 is to appeal to voters’ emotions by recharacterizing

 the measures as a cut in education and health care spending, for the purpose of encouraging voters

 to vote against the measure, feelings that would be very different if voters appreciated that they

 would lose at most a few dollars off their TABOR refund. Representative Chris Kennedy,


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 explained H.B. 21-1321 as a “stop-the-bleeding” bill: “What we’ve seen, increasingly, is that

 Republicans, who have not been successful at winning majorities here at the Capitol in recent

 years, are increasingly turning their attention to the ballot and using that as a way to try to get

 government closer to the size that can be drowned in a bathtub,” he said. “We’d prefer that

 government not drown in the bathtub. We’d prefer that ballot measures don’t continue to chip

 away at our ability to fund our public schools and the other priorities that the voters of the state

 care about.” Jesse Paul, Colorado Democrats Want to Use One of TABOR’s Most Effective Tax-

 Halting Mechanisms for Themselves, The Colorado Sun, May 21, 2021. There has been no effort

 to disguise the fundamentally politicized agenda underlying this legislation, which completely

 contrary to the clarity, neutrality and citizen control envisioned by the Colorado Constitution.

        For the reasons stated above, there is a reasonable likelihood that Plaintiffs will prevail on

 the merits in this litigation and vindicate their fundamental constitutional right to “to think as you

 will and to speak as you think,” Whitney v. California, 274 U.S. 357, 375 (1927), and to “present

 their message undiluted by views they [do] not share,” 303 Creative LLC v. Elenis, No. 21-476,

 600 U. S. ___ (June 30, 2023), slip. op at 8.

        B. Plaintiffs can also satisfy the other requirements for a preliminary injunction.

        The application of the final three prongs of the preliminary injunction standard is

 straightforward. The public importance of this matter is beyond dispute. “The titles and summary

 are critical to the voters’ accurate understanding of a proposal.” In re Ballot Title 1999-2000 No.

 258(A), 4 P.3d at 1099. And the urgency is also clear. Petitions are due – with signatures – on

 October 19 and November 20 of this year. At that point, assuming Plaintiffs can obtain the request

 number of signatures notwithstanding the false and misleading title mandated by C.R.S. § 1-40-

 106 as codified in Colorado law, Plaintiffs will be forced to choose between abandoning their

 petitions, which they have a right under the Colorado Constitution to present to the voters, and


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 letting ballots go out to voters with significant mischaracterizations of their position, which the

 voters will then read and vote upon. This is an irreparable injury and adverse to the public interest.

         Right now, Plaintiff Advance Colorado is approved to have petition circulators showing

 this petition to potential voters with the inaccurate language, leaving Plaintiffs trying to figure out

 how to explain what the initiative would really accomplish and why its title is wrong without

 irritating busy passersby. This is also compelled speech in violation of the First Amendment and

 an irreparable injury which Advance Colorado cannot avoid if it wishes to collect the necessary

 signatures in time to exercise its constitutional right to place a citizen initiative on the ballot.

         Finally, there is no danger of prejudice to the opposing party because this case does not

 involve any disputed questions of material fact that would require additional discovery or

 development.

                                            CONCLUSION

         Plaintiffs respectfully request that this Court enter a preliminary injunction order in this

 matter requiring the Secretary of State Griswold to convene the Title Board to reauthorize the

 ballot titles for Advance Colorado’s Initiatives 21 and 22, removing the false language mandated

 by C.R.S. § 1-40-106. Plaintiffs further request that the Court enter such order in time for more

 accurate titles to be set to allow Plaintiffs to make accurate speech to Colorado voters as soon as

 possible as they solicit signatures for Initiatives 21 and 22 and in any event, before the petitions

 are required to be turned in to the Secretary of State on October 19 and November 20, 2023 so that

 false and inaccurate statements are not presented to Colorado voters on the 2024 ballots.




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                                               GREENBERG TRAURIG, LLP
                                               s/Jennifer H. Weddle_________________
                                               Troy A. Eid
                                               Jennifer H. Weddle
                                               Harriet McConnell Retford
                                               GREENBERG TRAURIG, LLP
                                               1144 15th Street, Suite 3300
                                               Denver, Colorado 80202
                                               (303) 572-6500
                                               eidt@gtlaw.com
                                               weddlej@gtlaw.com
                                               retfordh@gtlaw.com
                                               Counsel to Plaintiffs


                             D.C. COLO.LCivR 7.1(a) Certification

        This lawsuit was served on Defendants and upon the Colorado Attorney General on August
 8, 2023, but no counsel has yet entered any appearance on behalf of Defendants. Therefore,
 pursuant to D.C.COLO.LCivR 7.1(a), on August 14, 2023, the undersigned contacted the Attorney
 General’s Office, as well as counsel for Defendants by emailing with their respective offices
 (Governor’s Chief Counsel, Ms. Kara Veitch, and Deputy Secretary of State Christopher Beall)
 providing detailed substantive messages soliciting Defendants’ positions with respect to Plaintiffs’
 Motion for Preliminary Injunction and requesting counsel to be identified.
         The undersigned also emailed Colorado Attorney General Phil Weiser and Chief Deputy
 Attorney General Natalie Hanlon Leh on August 14, 2023 to the same effect and asking whether
 there was any attorney within the Attorney General’s Office to whom correspondence regarding
 Plaintiffs’ case might be better directed.
         The undersigned received prompt responses from Defendants and the Attorney General’s
 Office identifying First Assistant Attorney General LeeAnn Morrill and Senior Assistant Attorney
 General Michael Kotlarczyk as the attorneys who will be representing Defendants in this matter.
        On August 15, 2023, Mr. Kotlarczyk informed the undersigned that Defendants oppose
 this Motion.
                                               Dated this August 16, 2023:
                                               s/ Jennifer H. Weddle
                                               Jennifer H. Weddle
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                                  CERTIFICATE OF SERVICE

 I hereby certify that on this 16th day of August 2023, a true and correct copy of the foregoing
 MOTION FOR PRELIMINARY INJUNCTION was filed by ECF and by served by email to
 the following given that the Attorney General’s Office personnel handling the case have not yet
 entered their appearances:

 Secretary of State of Colorado
 1700 Broadway, #550
 Denver, CO 80290

 For Defendant JENA GRISWOLD, in her official capacity as Secretary of State of Colorado,

 State of Colorado Governor’s Office
 200 East Colfax Avenue
 Denver, CO 80203

 For Defendant JARED POLIS, in his official capacity as Governor of Colorado,

 First Assistant Attorney General LeeAnn Morrill (leeann.morrill@coag.gov)
 Senior Assistant Attorney General Michael Kotlarczyk (Mike.Kotlarczyk@coag.gov)
 Colorado Attorney General’s Office
 Ralph L. Carr Colorado Judicial Center
 1300 Broadway
 Denver, CO 80203




                                            s/ Jennifer H. Weddle
                                            Jennifer H. Weddle
